25 F.3d 1038NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Clifton E. BELCHER, Plaintiff Appellant,v.Gary DIXON;  Joe L. PRATT;  T. L. McLAUGHLIN, Defendants Appellees.
    No. 93-7114.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 24, 1994.Decided:  June 13, 1994.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  James C. Fox, Chief District Judge.  (CA-93-119-CRT-F)
      Clifton E. Belcher, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before WIDENER, WILKINSON and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint without prejudice.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Belcher v. Dixon, No. CA-93-119-CRT-F (E.D.N.C. Sept. 29 &amp; Oct. 15, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    